            Case:
ILND 450 (Rev.        1:19-cv-04416
               10/13) Judgment                Document #: 445 Filed: 06/21/23 Page 1 of 2 PageID #:24917
                               in a Civil Action


                                IN THE UNITED STATES DISTRICT COURT
                                              FOR THE
                                   NORTHERN DISTRICT OF ILLINOIS

LQD BUSINESS FINANCE INC.,

Plaintiff(s),
                                                          Case No. 19 C 4416
v.                                                        Judge Matthew F. Kennelly

AZIZUDDIN ROSE and
AKF, INC. d/b/a Fundkite,

Defendant(s).

                                        JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                in favor of plaintiff(s)
                and against defendant(s)
                in the amount of $       ,

                       which       includes       pre–judgment interest.
                                   does not include pre–judgment interest.

        Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

        Plaintiff(s) shall recover costs from defendant(s).


                in favor of defendant(s)
                and against plaintiff(s)
.
        Defendant(s) shall recover costs from plaintiff(s).


                other: The Court directs the Clerk to enter judgment as follows. (1) On plaintiff LQD Business
Finance, LLC's third amended complaint: (a) on Counts 1 and 2 (Defend Trade Secrets Act and Illinois Trade
Secrets Act), in favor of defendant Rose and against plaintiff LQD; (b) on Count 3 (unjust enrichment), in favor
of plaintiff LQD against defendant Rose and in favor of defendant AKF, Inc. against plaintiff LQD; (c) on
Count 5 (breach of fiduciary duty), in favor of plaintiff LQD against defendant Rose; (d) on Count 6 (Computer
Fraud and Abuse Act), in favor of defendant Rose against plaintiff LQD; (e) on Count 7 (breach of contract), in
favor of defendant Rose against plaintiff LQD; (f) on Count 9 (aiding and abetting breach of fiduciary duty), in
favor of defendant AKF against plaintiff LQD; and (g) on all other claims, in favor of defendants and against
plaintiff LQD; (2) On defendant Azizuddin Rose's second amended counterclaim, in favor of LQD Business
Finance, LLC and George Souri on all claims; (3) Awarding relief to plaintiff LQD as follows: damages of
$50,950 against defendant Rose, and imposing a constructive trust in favor of LQD upon the $78,000 held by
defendant AKF, representing the commission on the TGC transaction that rightfully is the property of LQD.

This action was (check one):
            Case:
ILND 450 (Rev.        1:19-cv-04416
               10/13) Judgment                Document #: 445 Filed: 06/21/23 Page 2 of 2 PageID #:24918
                               in a Civil Action




   tried by a jury with Judge     presiding, and the jury has rendered a verdict.
   tried by Judge     without a jury and the above decision was reached.
   decided by Judge Matthew F. Kennelly on a motion



Date: 6/21/2023                                      Thomas G. Bruton, Clerk of Court

                                                     Melissa Astell , Deputy Clerk
